220 F.2d 443
    Charles Clinton PONDERv.C. H. LOONEY, Warden, United States Penitentiary, Leavenworth, Kansas.
    No. 5080.
    United States Court of Appeals, Tenth Circuit.
    March 17, 1955.
    
      No appearance for appellant.
      William C. Farmer, U.S. Atty., Wichita, Kan., and Milton P. Beach, Asst. U.S. Atty., Topeka, Kan., for appellee.
      Before BRATTON, HUXMAN and PICKETT, Circuit Judges.
      PER CURIAM.
    
    
      1
      Dismissed on motion of appellee, on ground appeal is moot.
    
    